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                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   MICHAEL E. MOCKOVAK,

 9                              Petitioner,                Case No. C18-671-JLR-MLP

10          v.                                             ORDER GRANTING MOTION FOR
                                                           EXTENSION OF TIME
11   RON HAYNES,

12                              Respondent.

13

14          Finding good cause, the Court GRANTS Petitioner’s Unopposed Motion for an

15   Extension of Time to File Traverse. (Dkt. # 60.) Petitioner shall file his traverse on or before

16   November 20, 2020. The Clerk is directed to send copies of this Order to the parties and to the

17   Honorable James L. Robart.

18

19          Dated this 6th day of November, 2020.

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21
                                                           A
                                                           MICHELLE L. PETERSON
                                                           United States Magistrate Judge
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     ORDER GRANTING MOTION FOR
     EXTENSION OF TIME - 1
